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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Case No. 21-CR-563 (JDB)
                                              :
VICTORIA CHARITY WHITE,                       :
                                              :
                       Defendant.             :


                                             ORDER

       Based upon the representations in the United States’ Unopposed Motion to Continue and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, the

Court makes the following findings:

       Defendant is charged via indictment with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021 (the “Capitol Attack”).             The investigation and

prosecution of the Capitol Attack will likely be one of the largest in American history, both in

terms of the number of defendants prosecuted and the nature and volume of the evidence. Over

600 individuals have been charged in connection with the Capitol Attack.          The investigation

continues and the government expects that additional individuals will be charged.     While most of

the cases have been brought against individual defendants, the government is also investigating

conspiratorial activity that occurred prior to and on January 6, 2021. The spectrum of crimes

charged and under investigation in connection with the Capitol Attack includes (but is not limited

to) trespass, engaging in disruptive or violent conduct in the Capitol or on Capitol grounds,

destruction of government property, theft of government property, assaults on federal and local

police officers, firearms offenses, civil disorder, obstruction of an official proceeding, possession

and use of destructive devices, and conspiracy.
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        Defendants charged and under investigation come from throughout the United States, and

a combined total of over 900 search warrants have been executed in almost all fifty states and the

District of Columbia.     Multiple law enforcement agencies were involved in the response to the

Capitol Attack, which included officers and agents from U.S. Capitol Police, the District of

Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the Department

of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United

States Secret Service, the United States Park Police, the Virginia State Police, the Arlington

County Police Department, the Prince William County Police Department, the Maryland State

Police, the Montgomery County Police Department, the Prince George’s County Police

Department, and the New Jersey State Police.          Documents and evidence accumulated in the

Capitol Attack investigation thus far include: (a) more than 15,000 hours of surveillance and body-

worn camera footage from multiple law enforcement agencies; (b) approximately 1,600 electronic

devices; (c) the results of hundreds of searches of electronic communication providers; (d) over

210,000 tips, of which a substantial portion include video, photo and social media; and (e) over

80,000 reports and 93,000 attachments related to law enforcement interviews of suspects and

witnesses and other investigative steps.   As the Capitol Attack investigation is still on-going, the

number of defendants charged and the volume of potentially discoverable materials will only

continue to grow.    In short, even in cases involving a single defendant, the volume of discoverable

materials is likely to be significant.

        The government, in consultation with the Federal Public Defender, has developed a

comprehensive plan for handling, tracking, processing, reviewing and producing discovery across

the Capitol Attack cases.     Such productions will also be supplemented on an on-going basis.


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The plan includes a system for storing, organizing, searching, producing and/or making available

voluminous materials such as those described above in a manner that is workable for both the

government and hundreds of defendants.

           In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). As described above,

the Capitol Attack is likely the most complex investigation ever prosecuted by the Department of

Justice.      Producing and viewing the voluminous materials will take time. The unusual

complexity of the Capitol Attack investigation warrants the requested continuance. Given the

number of individuals currently charged across the Capitol Attack investigation and the nature of

those charges, the on-going investigation of many other individuals, the volume and nature of

potentially discovery materials, and the reasonable time necessary for effective preparation by all

parties taking into account the exercise of due diligence, the failure to grant such a continuance in

this proceeding would be likely to make a continuation of this proceeding impossible, or result in

a miscarriage of justice.

           Accordingly, the ends of justice served by granting a request for a continuance outweigh

the best interest of the public and the defendant in a speedy trial.

           Therefore, it is this        day of November, 2021,

           ORDERED that the United States’ Motion to Continue and to Exclude Time Under the

Speedy Trial Act, is hereby GRANTED; it is further

           ORDERED that this proceeding is continued to February 16, 2021, at                ; and it

is further

           ORDERED that the time period from the date of this Order through and including the


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date of the next hearing is hereby excluded from the computation of time within which an

indictment must be filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.


                                            ___________________________________
                                            THE HONORABLE JOHN D. BATES
                                            UNITED STATES DISTRICT JUDGE




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